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                UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA
  Danesh Noshirvan,}


  v.                                                                      2:23-cv-01218


  Jennifer Couture, et al

  JOHN DOE 3’S MOTION TO CLARIFY IDENTITY AND STRIKE MISIDENTIFICATION AND
  REQUEST FOR SANCTIONS AGAINST PLAINTIFF IN THE AMOUNT OF $100,000.00
  COMES NOW, the undersigned individual, appearing as John Doe 3, identified by the email
  address "TheResearcher2020@yandex.com", and hereby submits this Motion to Clarify
  Identity and Strike Misidentification from the record, and in support thereof states as
  follows:
  I. INTRODUCTION
       1. Plaintiff has, without evidence or substantiation, alleged that John Doe 3, using the
          email address TheResearcher2020@yandex.com, is Joseph A. Camp.
       2. This assertion is false. John Doe 3 is not Joseph A. Camp and has no association
          with him.
       3. This misidentification is prejudicial, improper, and unsupported by admissible
          evidence. It creates undue confusion and exposes an unrelated individual to legal
          liability without due process or foundation.
  II. FACTUAL BACKGROUND
       4. The email account TheResearcher2020@yandex.com has been previously identified
          under seal in Dominion Voting Systems v. Donald J. Trump, a separate legal
          proceeding.
       5. In that proceeding, the identity of John Doe 3 was distinct from Joseph A. Camp,
          and at no point has any court or competent authority determined that Joseph A.
          Camp operates or controls that account.
       6. The Plaintiff’s identification of Mr. Camp as John Doe 3 constitutes a material
          misstatement of fact, unsupported by evidence, and contrary to previously filed
          judicial records under seal.
  III. ARGUMENT
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     7. Plaintiff’s conduct violates the fundamental principles of Federal Rule of Civil
        Procedure 11(b), which prohibits presenting claims or factual contentions lacking
        evidentiary support.
     8. The improper identification also infringes upon the due process rights of both John
        Doe 3 and Joseph A. Camp, the latter of whom is wrongly exposed to potential
        liability or reputational harm.
     9. The misidentification risks violating the sealed status of confidential identities in
        other legal proceedings and undermines the integrity of judicial process.


  Therefore, John Doe 3 respectfully requests that the Court:
  a. Clarify that John Doe 3, associated with TheResearcher2020@yandex.com, is not
  Joseph A. Camp;
  b. Strike any statements or filings by Plaintiff that conflate or identify Joseph A. Camp as
  John Doe 3 including the instant Complaint in this matter;
  c. Admonish Plaintiff for violating applicable rules of civil procedure if the misidentification
  persists; and
  d. Issue sanctions in the amount of $100,000.00 against Plaintiff to deter further false
  statements as factual; and
  e. Grant such further relief as this Court deems just and proper.
  IV. CONCLUSION
  The Plaintiff's unfounded and unsupported identification of John Doe 3 as Joseph A. Camp
  is both procedurally improper and factually inaccurate. This motion seeks to rectify that
  misidentification and to protect the legal rights of all individuals concerned.
  April 8th, 2025.
  Respectfully submitted,
  TheResearcher2020@Yandex.com
  John Doe 3
